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           IN THE UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF MARYLAND

                                      )
CLAUDIO DE SIMONE,                    )
                                      )
         Plaintiff,                   )
                                      )
v.                                    )    Civil Action No.: 8:15-cv-01356
                                      )
VSL PHARMACEUTICALS, INC., et al.     )
                                      )
         Defendants,                  )




DEFENDANT/COUNTERCLAIM PLAINTIFF VSL PHARMACEUTICALS, INC.’S
               MEMORANDUM IN OPPOSITION TO
   PLAINTIFF/COUNTERCLAIM DEFENDANT CLAUDIO DE SIMONE’S
            MOTION TO DISMISS THE COUNTERCLAIM




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        Counterclaim Plaintiff/Defendant VSL Pharmaceuticals, Inc. (“VSL”), by counsel,

submits the following Memorandum in Opposition to Plaintiff/Counterclaim Defendant Claudio

De Simone’s omnibus Motion to Dismiss the Counterclaim, and states as follows:

                                        INTRODUCTION

        VSL Pharmaceuticals, Inc. (“VSL”) filed a detailed Counterclaim with numerous

allegations and exhibits supporting its claim to ownership of all intellectual property associated

with VSL#3 (“VSL#3 IP”), a lucrative pro-biotic medical food. Claudio De Simone (“De

Simone”) largely ignores the compelling factual record set forth by VSL and argues that VSL’s

claims should be dismissed at the pleading stage because—quite simply—he owns the VSL#3

IP. The fundamental thrust of De Simone’s Motion to Dismiss is not that VSL failed to properly

plead its claims, but that VSL will not be able to prove the claims it has pled.

        This argument is both procedurally and substantively flawed. It is procedurally flawed

because the Court must assume the truth of VSL’s factual allegations when deciding the Motion

to Dismiss.   De Simone’s improper citation to documents that were not referenced in the

Counterclaim does nothing to undermine VSL’s well-founded allegations and the exhibits which

support them. VSL’s Counterclaim goes well beyond what is necessary to plead viable claims

for relief.

        More importantly, De Simone’s conclusory assertions of ownership over VSL#3 are

substantively flawed and entirely inaccurate. VSL’s Counterclaim walks through the history of

the parties’ relationship and the various agreements by which De Simone transferred to VSL the

rights to the VSL#3 IP, either directly or through his corporate alter ego, Mendes Srl (“Mendes

Italy”), in exchange for the substantial investment of capital by investors into VSL. Moreover,

De Simone negotiated and executed numerous agreements with third parties which expressly



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represented that VSL owned all rights associated with the VSL#3 IP. Though he later tried to

unwind the transfer of VSL#3 through a devious scheme of self-dealing and illicit personal

agreements with VSL’s exclusive manufacturer (Danisco), De Simone cannot escape the

unambiguous language of the original agreements by which he transferred—for significant

financial compensation—all rights to the VSL#3 IP.

       Moreover, in citing to several later-executed agreements in an attempt to establish his

ownership of the VSL#3 IP (such as the 2006 Confidential Disclosure Agreement and the 2010

Know-How License Agreement), De Simone ignores VSL’s fundamental allegations of self-

dealing and breaches of fiduciary duty that are central to its Counterclaim. The agreements upon

which De Simone relies were negotiated and/or executed by De Simone while serving as VSL’s

CEO and Chairman. De Simone was the very person tasked with protecting VSL’s interests.

Instead, he spent years using VSL’s financial backing to develop VSL#3 while simultaneously

scheming to leave VSL and compete with it; to usurp all rights to the VSL#3 IP; and to cripple

VSL’s ability to continue supplying VSL#3 to its customers following his exit from the

company. The agreements upon which he now relies to defend his claim of ownership are the

very same instruments by which De Simone abused VSL’s trust and by which he implemented

his scheme to wrest ownership of the VSL#3 IP from the company. When one views those

agreements in the context of De Simone’s grand scheme of fraudulent self-dealing, it becomes

obvious that De Simone’s Motion to Dismiss fails.

       For at least these reasons, as well as numerous other points regarding each specific count

of the Counterclaim discussed in detail below, this Court should deny De Simone’s Motion to

Dismiss.




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                                       LEGAL STANDARD

        I.      Standard of Review and Reliance on External Documents.

        In ruling on a Rule 12(b)(6) motion to dismiss, the judge must accept all facts alleged in

the counterclaim as true and draws all reasonable factual inferences in the nonmoving party’s

favor. Astorga v. Castlewood Consulting, LLC, No. 14-4006, 2015 WL 2345519, at *1 (D. Md.

May 14, 2015); see also E.I. du Pont Nemours & Co. v. Kolon Indus., 637 F.3d 435, 440 (4th

Cir. 2011) (citations omitted) (internal quotation marks omitted).            The Fourth Circuit has

clarified that “[t]he purpose of a Rule 12(b)(6) motion is to test the sufficiency of the complaint;

[it] does not resolve contests surrounding the facts, the merits of a claim, or the applicability of

defenses.” Edwards v. City of Goldsboro, 178 F.3d 231, 243 (4th Cir. 1999) (citations omitted)

(internal quotation marks omitted).

        De Simone’s Memorandum in Support of his Motion to Dismiss (“Memorandum”)

repeatedly relies on documents that are neither “integral to” nor “explicitly relied on” by VSL in

support of its Counterclaim, and therefore should not be considered on a motion to dismiss.

Fudge v. Penthouse Int’l, Ltd., 840 F.2d 1012, 1015 (1st Cir. 1988) (“Clearly, not every

document referred to in a complaint may be considered incorporated by reference and thus

introduced by the moving party in support of a motion to dismiss.”); Goldman v. Belden, 754

F.2d 1059, 1066 (2d Cir. 1985). As one example, De Simone relies on a March 31, 2015 High

Court Judgment (the “UK Judgment”), arguing that he is permitted to do so because VSL

incorporated the UK Judgment into its Counterclaim.1 (De Simone Mem. in Supp. at 6.) While



1
  De Simone also incorrectly argues that VSL “intended” to attach the UK Judgment, rather than the
March 31, 2015 Order, which was the exhibit actually attached. (De Simone Mem. in Supp. at 6.) In
fact, the sentence referencing the Order makes clear what Exhibit 40 is intended to be: “By Order dated
March 31, 2015, the High Court discharged the injunction based on its conclusion that it lacked
jurisdiction over Actial’s operative claims (attached as Exhibit 40).” (Counterclaim ¶ 211 (parenthetical
                                                   3
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VSL references the UK Judgment in its Counterclaim, VSL’s claims in no way rely on the UK

Judgment.    (See Counterclaim ¶ 211.)      Rather, the UK Judgment is merely referenced to

evidence to the Court that other courts have taken serious issue with Mendes SA’s and De

Simone’s actions, based on facts and allegations similar to or the same as those alleged here.

Similarly, De Simone asks the Court to consider documents attached to the UK Judgment as

exhibits that are not even referred to in the Counterclaim. In ruling on De Simone’s Motion to

Dismiss, such documents are not integral to or explicitly relied on by VSL in its Counterclaim,

and therefore cannot form a basis of De Simone’s Motion to Dismiss.

       II.     Choice of Law.

       With the exception of claims that are governed by federal law, De Simone incorrectly

assumes that Maryland law applies to all of VSL’s causes of action. However, Maryland’s

choice of law rules dictate that Delaware law applies to certain of VSL’s claims. Maryland law

would govern the adjudication of VSL’s common law tort claims, Lab. Corp. of Am. v. Hood,

911 A.2d 841, 845 (Md. 2006), and it will also apply to claims based in contract. RaceRedi

Motorsports, LLC v. Dart Mach., Ltd., 640 F. Supp. 2d 660, 665 (D. Md. 2009) (citing

Commercial Union Ins. Co. v. Porter Hayden Co., 698 A.2d 1167 (Md. Ct. Spec. App. 1997)).

However, Delaware law will apply to claims arising out of VSL’s internal affairs and corporate

governance. Miller v. U.S. Foodservice, Inc., 405 F. Supp. 2d 607, 615 (D. Md. 2005). VSL

will address choice of law issues, as appropriate, in response to De Simone’s arguments with

respect to the individual counts of the Counterclaim.




in original) (emphasis added).) De Simone cannot now insert his preferred exhibit (the UK Judgment)
merely because he wishes to rely on the UK Judgment in his Motion to Dismiss.


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                                             ARGUMENT

        I.      De Simone’s Motion to Dismiss Is Premised Upon Three Fundamental
                Errors.

        De Simone’s arguments are subject to several basic flaws that repeatedly surface

throughout his Memorandum. Before addressing each specific count, VSL will highlight the

pervasive fundamental errors in De Simone’s arguments.

        •    First, De Simone conflates U.S. Patent No. 5,716,615 (the “‘615 Patent”) with the
             technical and non-technical information, discoveries, improvements, processes,
             formulae, data, inventions, biological material, and other information useful or
             necessary to make, develop, use, or sell the VSL#3 probiotic product (the “VSL#3
             Know-How”); and he assumes that those items of intellectual property could only be
             transferred as a single unit. This is incorrect both factually and legally. The ‘615
             Patent and VSL#3 Know-How are separate pieces of intellectual property, and thus,
             De Simone’s argument that Mendes Italy could not have transferred the know-how
             for VSL#3 while De Simone owned certain patent rights to the product is unavailing.

        •    Second, De Simone relies upon the purported knowledge of Actial Farmaceutica
             LDA (“Actial”) and Paolo Cavazza to argue that VSL knew De Simone claimed
             ownership of the VSL#3 Know-How.2 However, Actial is a separate corporate entity
             from VSL, and Paolo Cavazza was neither an officer nor director of VSL during the
             period of De Simone’s malfeasance. Thus, to the extent they even had any such
             knowledge of De Simone’s duplicitous behavior, it could not be imputed to VSL.

        •    Third, and perhaps most importantly, De Simone simply ignores the impact of his
             position as VSL’s board chairman and CEO, including his duties to act in VSL’s best
             interests, not to usurp any corporate opportunities, and to disclose all relevant facts to
             other board members. De Simone cannot hide from the fact that, as Chairman and
             CEO, he was under a strict duty to avoid self-dealing and to report all relevant
             information regarding VSL#3 to the disinterested directors and/or shareholders of the
             company. Thus, to the extent De Simone procured agreements counter to VSL’s
             interests by concealing relevant information from the disinterested board members,
             De Simone cannot rely upon those agreements to escape liability to his former
             employer.




2
 Paolo Cavazza (and his now deceased brother), were part of the original joint venture that formed VSL.
(Counterclaim ¶ 2.) Actial is a subsidiary of CD Investments, and possesses the rights to market and sell
VSL#3 for various other territories, including Europe. (Counterclaim ¶ 65.)


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               A.      The ‘615 Patent and VSL#3 Know-How Are Separate Intellectual
                       Property.

       In multiple instances in his Memorandum, De Simone conflates the rights associated with

the ‘615 Patent and the rights to the other intellectual property related to VSL#3 (including

trademarks, trade secrets, know-how, etc.). For example, De Simone argues that Mendes Italy

could not transfer any trade secrets or know how for VSL#3 to VSL via the Mendes Assignment

Agreement when VSL purportedly concedes that “De Simone was the co-owner of these rights”

to the ‘615 Patent. (De Simone Mem. in Supp. at 10.) De Simone further argues that he owned

and subsequently licensed the VSL#3 Know-How to VSL through the Patent License Agreement

in 2001. (De Simone Mem. in Supp. at 9.) However, the relevant agreements and applicable law

establish that the ‘615 Patent and know-how are distinct intellectual property assets. See, e.g.,

State Contracting & Eng’g Corp. v. Florida, 258 F.3d 1329, 1339-40 (Fed. Cir. 2001) (noting

that because patent rights and trade secret rights are distinct rights, the right to use proprietary

technology does not necessarily convey any patent rights and the omission of an express

provision providing for the licensing of patent rights demonstrated that the contract did not

provide a license for patent rights); Hilgraeve Corp. v. Symantec Corp., 265 F.3d 1336, (Fed.

Cir. 2001) (holding that no patent license was conferred where plaintiff transferred all copyright,

know-how, and technical expertise with respect to software to defendant).

       U.S. patent law provides that “the grant of a patent does not provide the patentee with an

affirmative right to practice the patent but merely the right to exclude.” TransCore, LP v. Elec.

Transaction Consultants Corp., 563 F.3d 1271, 1275 (Fed. Cir. 2009) (emphasis added); see 35

U.S.C. § 154(a)(1) (“Every patent shall contain ... a grant to the patentee, his heirs or assigns, of

the right to exclude others from making, using, offering for sale, or selling the invention

throughout the United States or importing the invention into the United States ....”). A patent

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license merely conveys to the licensee the right to be free from suit from the licensor should the

licensee practice the patent. TransCore, 563 F.3d at 1275. In this case, the Patent License

Agreement grants to VSL only the right to remain free from suit from the ‘615 Patent owners

regarding products covered by the ‘615 Patent claims, and to sublicense that same right to others.

This is the very definition of a patent license.

       Nor does the plain language of the Patent License Agreement support De Simone’s

assertion that he licensed all of the VSL#3 intellectual property to VSL through that agreement.

The Patent License Agreement only addressed the then existing patent rights to the ‘615 Patent,

and nothing else.      Nowhere does the Patent License Agreement reference De Simone’s

ownership of know-how, trade secrets, proprietary information or other intellectual property

associated with VSL#3.

       Nor would it, as Mendes Italy had already assigned all other VSL#3 IP to VSL via the

Mendes Assignment Agreement in 2000. De Simone’s contention that the Mendes Assignment

Agreement only assigned to VSL the European trademark to VSL#3, and nothing more, is

contrary to the plain language of the agreement, which contains a broad transfer of the VSL#3 IP

(absent the ‘615 Patent) to VSL. (De Simone Mem. in Supp. at 8-9.) In support of his argument,

De Simone references Schedule I of the Mendes Assignment Agreement, stating that only “CTM

trademark no. 1437789,” the European VSL#3 trademark filing, is purportedly listed therein.

(De Simone Mem. in Supp. at 8.) In fact, in addition to the European filing, Schedule I of the

Mendes Assignment Agreement also contains entries for the trademarks in Canada, Japan, and

the United States, including a filing date for Canada, and an indication that the trademarks were

“under filing” for the United States and Japan. (Mendes Assignment Agreement, B-3.) Not




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surprisingly, De Simone does not even acknowledge, let alone offer explanation for, these other

countries being listed on Schedule I.

       More importantly, however, the Mendes Assignment Agreement assigns to VSL all right,

title, and interest of every kind and character, “throughout the world,” in and to the Proprietary

Products and the Intellectual Property identified in the agreement as referenced by the VSL#3

trademark.   (Mendes Assignment Agreement § 2.01.)         “Intellectual Property” is defined to

include all of the intellectual property owned or licensed by Mendes Italy “which relates to the

subject matter set forth in Schedule I” (i.e., relating to “VSL#3”), including patent, trademark,

and any other form or nature of proprietary or exclusionary right.         (Mendes Assignment

Agreement § 1.01.) “Proprietary Products” is defined to specifically include trade secrets, know-

how, production processes, and techniques described, comprised in, or relating to the Intellectual

Property. As such, even if De Simone were correct in his assertion that the VSL#3 European

trademark is the only intellectual property listed in Schedule I, the plain and above-referenced

language of the Mendes Assignment Agreement transferred Mendes Italy’s then-current rights

and all future rights, throughout the world, in the VSL#3 Know-How as identified by the

trademark VSL#3—the very same trademark used today throughout the world. Moreover, VSL

specifically alleged that De Simone himself executed agreements on behalf of VSL in which he

acknowledged VSL’s ownership of the VSL#3 Know-How at various dates following the

execution of the Mendes Assignment Agreement. (See Counterclaim ¶¶ 59-68). In short, VSL

has more than adequately pled that it received the VSL#3 Know-How from Mendes Italy.

       Thus, De Simone’s ownership of the ‘615 Patent is not dispositive of whether VSL now

owns the VSL#3 Know-How, and all of De Simone’s arguments founded upon this premise fail.




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               B.      De Simone Cannot Impute Actial’s and Paolo Cavazza’s Knowledge
                       and/or Actions to VSL.

       De Simone argues in multiple instances that the Court should bar VSL’s claims based on

statements made by Actial Farmaceutica LDA (“Actial”) in its litigation in Europe (the “UK

Litigation”) or because of knowledge allegedly possessed by Paolo Cavazza.                De Simone

provides no legal authority for De Simone’s contention that VSL is bound by the statements

made by Actial’s attorney in the UK Litigation nor could he, as VSL and Actial are separate

legal entities. See Irvine Co. v. Great Am. Ins. Co., No. 94-56358, 1996 WL 422862 (9th Cir.

July 29, 1996)); Fitzgibbon v. Martin Cnty. Coal Corp., No. 05-36, 2007 WL 1231509, at *9

(E.D. Ky. Apr. 25, 2007).

       Likewise, Paolo Cavazza’s alleged knowledge is not imputed to VSL, and cannot form

the basis for a motion to dismiss. De Simone incorrectly contends, without citation to legal

authority, that VSL should be bound by Paolo Cavazza’s knowledge merely because Mr.

Cavazza is one of VSL’s “ultimate owners.” (De Simone Mem. in Supp. at 29.) Mr. Cavazza is

not an officer, director or shareholder of VSL. As such, his knowledge cannot be imputed to

VSL. See S.O.G.-San Ore-Gardner v. Mo. Pac. R.R. Co., 658 F.2d 562, 567 (8th Cir. 1981)

(stating that it is well settled that a principal’s undisclosed knowledge is not imputed to an

agent); Hunt Trust Estate v. Kiker, 269 N.W.2d 377, 382 (N.D.1978) (stating that a principal’s

knowledge is not imputed to the agent); Stanley v. Deluxe Fin. Servs. Inc., No. 1:08CV2149,

2009 WL 929029, at *6 (N.D. Ohio Apr. 2, 2009) (“While it is fundamental agency law that an

agent’s knowledge is imputed to his principal, the opposite is not true. The principal’s

knowledge is not imputed to the agent.”).3

3
 Here, the relationship between Cavazza and VSL is even more tenuous, as it is not one of principal and
agent, but a shareholder of an entity that is, in turn, a shareholder of VSL.


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        Even if Mr. Cavazza’s alleged knowledge was imputed to VSL, however, that would not

support De Simone’s Motion to Dismiss. In support of his spurious statute of limitations

argument, De Simone asserts that Mr. Cavazza reviewed a “draft copy” of the J&J Agreement,

which merely referenced the 2008 Danisco Agreement. (De Simone Mem. in Supp. at 16, 29.)

Nowhere is it alleged, much less established, that Cavazza had access to the 2008 Danisco

Agreement or was familiar with its terms. Thus, De Simone uses the mere reference to the 2008

Danisco Agreement in this wholly separate agreement to charge VSL with knowledge of the

2008 Danisco Agreement’s terms. Just how far De Simone must stretch to make this argument

underscores the weakness of his Motion to Dismiss.

        C.      De Simone Cannot Hide the Fact That He Controlled the Flow of
                Information to VSL’s Other Officers, Directors and Shareholders.

        Much of De Simone’s Motion to Dismiss relies on the alleged knowledge of Mr.

Maurizio Terenzi, VSL’s former Chief Financial Officer and board member. De Simone asserts

that Mr. Terenzi, as an allegedly disinterested member of VSL’s board of directors, was made

aware of De Simone’s ownership claim to the VSL#3 Know-How, as evidenced by the minutes

of the September 18, 2009 meeting of the board of directors. (De Simone Mem. in Supp. at 17-

19.) Accordingly, De Simone argues that the statute of limitations bars VSL’s claims. (Id.)

        Even if the Court could consider the September 18, 2009 board minutes,4 De Simone’s

Motion to Dismiss nevertheless fails because of De Simone’s fraud and deceit. Maryland law

recognizes the “adverse domination” doctrine as an exception to the general rule of imputing

4
  VSL’s allegations in its Counterclaim that its board minutes lacked any reference to (1) De Simone’s
offering or granting VSL the option to acquire the entire ownership rights of the ‘615 Patent
(Counterclaim ¶ 72); or (2) the 2008 Danisco Agreement (Counterclaim ¶ 102), is insufficient to allow the
Court to consider any and all of its board minutes in support of De Simone’s Motion to Dismiss not
otherwise referenced and relied upon by VSL. VSL does not reference or rely on the September 18, 2009
board minutes in its Counterclaim, and consideration of those minutes would be improper on the Motion
to Dismiss.


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knowledge from agent to principal for purposes of delaying the accrual of causes of action by a

corporation against its former officers and directors.5 Hecht v. Resolution Trust Corp., 635 A.2d

394 (Md. 1994). In Hecht, the Court explained:

                 [The “adverse domination” doctrine] provides that the claim will
                not accrue until there is someone who can discover the claim and
                act for the corporation. It goes beyond the principles of agency
                law which provide that knowledge of an agent will not be imputed
                to the principal if the agent acts adversely to the principal. It
                provides a presumption that there is no knowledge and no accrual
                while wrongdoers control the corporation.

Id. at 408. The doctrine creates a rebuttable presumption that a cause of action does not accrue

against culpable directors and officers until a “disinterested majority” gains control of the

corporation. Id. Here, at the time Terenzi served as a director of VSL (specifically, September

18, 2009, the date when De Simone alleges Mr. Terenzi received notice of De Simone’s

ownership claims), Beth Park and De Simone, the alleged co-conspirators, were the only other

two members of the board. (Counterclaim ¶¶ 89-90.) As such, the adverse domination doctrine

is applicable and Mr. Terenzi’s alleged knowledge cannot be imputed to VSL until a

disinterested majority gained control of VSL (i.e., in 2014 when De Simone and Park resigned).




5
  De Simone relies on the Board meeting minutes to invoke a statute of limitations defense. (See e.g., De
Simone Mem. in Supp. at 26-27, 30.) For choice of law purposes, Maryland treats statutes of limitation
as procedural rather than substantive, and applies Maryland law. Hartnett v. Schering Corp., 806 F.
Supp. 1231, 1234 (D. Md. 1992). In any event, the result would be the same under Delaware law.
Delaware follows the doctrine of “equitable tolling” pursuant to which the statute of limitations is tolled
for claims of wrongful self-dealing, even in the absence of actual fraudulent concealment, where a
plaintiff reasonably relies on the competence and good faith of a fiduciary. Weiss v. Swanson, 948 A.2d
433, 451 (Del. Ch. 2008) (footnote omitted). “The obvious purpose of the equitable tolling doctrine is to
ensure that fiduciaries cannot use their own success at concealing their misconduct as a method of
immunizing themselves from accountability for their wrongdoing.” In re Am. Int’l Gp., Inc., 965 A.2d
763, 813 (Del. Ch. 2009) (footnote omitted). Under equitable tolling, the statute of limitations does not
begin to run until a plaintiff is “objectively aware of the facts giving rise to the wrong.” Weiss, 948 A.2d
at 451.


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        Moreover, it is important to note that Terenzi, who is now deceased, did not become a

board member until years after VSL’s formation. Thus, there is no basis now before the Court to

establish that Terenzi knew the history of De Simone’s transfer of intellectual property to VSL in

2000.    Likewise, De Simone’s argument ignores his alleged misrepresentation to Terenzi

regarding what intellectual property rights De Simone possessed. One must necessarily view De

Simone’s misrepresentation to Terenzi regarding his purported intellectual property rights in the

context of his position with VSL and the fiduciary duties that he owed to it. Terenzi (and VSL)

should have been able to trust VSL’s Chairman and CEO to honestly apprise him of VSL’s

intellectual property rights; unfortunately, however, this turned out not to be true. The bottom

line is that what Terenzi knew, including what De Simone disclosed, is at best a factual issue that

is not appropriate for purposes of a motion to dismiss.

        II.    De Simone’s Motion to Dismiss Each of VSL’s Specific Counts Fails.

               A.     Count I (Declaratory Relief) Is Properly Pled Because There Is a
                      Justiciable Controversy as to the Ownership of the Intellectual
                      Property Related to VSL#3.

        De Simone alleges in Count I of his Complaint that “there is an actual and justiciable

controversy, of sufficient immediacy and reality, between the parties over who owns the

intellectual property rights arising from or related to the invention described in the 615 Patent,

including the aforementioned trade secrets.”      (Compl. ¶ 170.)     Having made that express

allegation himself, it is unclear how De Simone can argue in good faith that no justiciable

controversy exists with respect Count I of VSL’s Counterclaim regarding ownership of the

VSL#3 intellectual property. On this basis alone, the Court should deny De Simone’s request

that the Court dismiss Count I of the Counterclaim.




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       In any event, VSL has sufficiently pled a cause of action under the Federal Declaratory

Judgment Act, 28 U.S.C. § 2201, et seq. De Simone argues three reasons why Count I fails to

state a claim, all of which are without basis and are addressed below.

                     i.   VSL Alleges That It Owns the VSL#3 Intellectual Property.

       De Simone first argues that the Counterclaim does not identify any legal instrument by

which VSL obtained ownership of the intellectual property for VSL#3 other than trademark

rights. As noted above, however, the Counterclaim includes a specific section delineating the

various agreements by which De Simone transferred intellectual property rights for VSL#3 to

VSL.    (Counterclaim ¶¶48-55.)      VSL explicitly alleges that “[p]ursuant to the Mendes

Assignment Agreement . . . De Simone transferred to VSL all of his intellectual property rights

and confidential information relating to the VSL#3 product (including trade secret, know-how,

trademark, and other proprietary rights).” (Counterclaim ¶ 50.)

       As discussed supra, De Simone’s assertion that “[n]either the Collaboration Agreement

nor the Mendes Assignment Agreement conveys to VSL Inc. the ‘615 Patent or its associated

trade secrets and know-how” is incorrect. (De Simone Mem. in Supp. at 23.) Again, De Simone

conflates the ‘615 Patent with the VSL#3 Know-How. Regardless of whether the Mendes

Assignment Agreement assigns the ‘615 Patent rights that purportedly covered the VSL#3

product, as discussed previously in Section I.A, the agreement clearly and unambiguously

assigns to the VSL the VSL#3 Know-How. (Mendes Assignment Agreement §§ 1.01, 2.01., at

B-3.) Because the Counterclaim identifies specific agreements and language by which VSL

obtained the VSL#3 Know-How, VSL has adequately pled a justiciable controversy for Count I.




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                     ii.   The Patent License Agreement, Confidential Disclosure Agreement,
                           and January 2010 Know-How Agreement Do Not Negate VSL’s
                           Ownership of the VSL#3 Intellectual Property.

       In an effort to refute the allegations in the Counterclaim that De Simone and his related

entities transferred the VSL#3 Know-How to VSL, De Simone relies on three additional

agreements—the Patent License Agreement, the Confidential Disclosure Agreement, and the

January 2010 Know-How Agreement. (De Simone Mem. in Supp. at 24-25.) De Simone avers

that these agreements establish his ownership of the VSL#3 Know-How. Id. De Simone’s

assertions in this regard are without merit.

       First, as discussed above, the Patent License Agreement applies solely to the ‘615 Patent.

The VSL#3 Know-How is outside the scope of the Patent License Agreement, and thus, the

Patent License Agreement has no bearing on the ownership of the VSL#3 Know-How.

       Second, the Confidential Disclosure Agreement is merely a confidentiality agreement

intended to allow the entities to “have ongoing discussion relating to the use of Danisco’s culture

products and/or the manufacture of certain toll manufactured products.”              (Confidential

Disclosure Agreement at 1.) It neither purports to assign (or re-assign) the ownership of the

VSL#3 Know-How back to De Simone, nor could it since it is not an agreement between De

Simone and VSL. Id. The language in the Confidential Disclosure Agreement does not, as De

Simone contends, state that De Simone “owns the know-how and trade secret rights in VSL#3.”

(De Simone Mem. in Supp. at 24.) Rather, the Confidential Disclosure Agreement states that De

Simone owns the “product formulation referred to as VSL#3 described in U.S. Patent n.

5,716,615.” (Confidential Disclosure Agreement ¶ 6.) Although somewhat vague, this language

appears to refer only to the ‘615 Patent. Even if the Court read the Confidential Disclosure

Agreement to refer to more than just the ‘615 Patent, the Confidential Disclosure Agreement



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would not somehow unwind the arms-length transfer of the VSL#3 Know-How that took place in

2000. Thus, the Confidential Disclosure Agreement does not support De Simone’s assertion that

no justiciable controversy exists.

       Also, one must not lose sight of the fact that De Simone executed the Confidential

Disclosure Agreement on VSL’s behalf while serving as it board chairman and CEO. Indeed,

VSL expressly alleges that the Confidential Disclosure Agreement was part of De Simone’s

scheme to re-claim ownership over the intellectual property that he had previously transferred to

VSL. Prior to entering the Confidential Disclosure Agreement with Danisco, De Simone himself

executed various documents on behalf of VSL which affirmed the company’s ownership of the

VSL#3 Know-How. (Counterclaim ¶¶ 59-68). De Simone executed the Confidential Disclosure

Agreement in 2006, years after VSL initially executed a confidentiality agreement with Rhodia

(Danisco’s predecessor-in-interest) that confirmed VSL’s ownership of the proprietary

information and know-how related to VSL#3. (Counterclaim ¶¶ 60-64, Ex. 8). Because VSL

alleges that the Confidential Disclosure Agreement was a part of De Simone’s duplicitous self-

dealing, he cannot use that very agreement to short-circuit VSL’s claims.

       Finally, De Simone’s reliance on the January 2010 Know-How Agreement is equally

unavailing. VSL explained in its Counterclaim why that agreement is void. Therefore, the

January 2010 Know-How Agreement could not possibly supersede the prior agreements validly

transferring the VSL#3 Know-How to VSL. (See Counterclaim Count III.)

                    iii.   Count I Is Not Time Barred.

       The statute of limitations only applies to a declaratory judgment action where such action

is based on a breach of contract, and not merely on knowledge of the existence of an actual and

justiciable controversy. Commercial Union Ins. Co. v. Porter Hayden Co., 698 A.2d 1167, 1193



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(Md. Ct. Spec. App. 1997). VSL’s request for a declaratory judgment in Count I is not based on

De Simone’s breach of any contract, but rather a fundamental difference in VSL’s and De

Simone’s interpretation of the agreements at issue. As such, no statute of limitations applies.

       Even if the 3-year statute of limitations for breach of contract were applicable, VSL’s

declaratory judgment action is not time barred because any alleged “breach” is ongoing and

continuous. Under Maryland law, “where a contract provides for continuing performance over a

period of time, each successive breach of that obligation begins the running of the statute of

limitations anew, with the result being that accrual occurs continuously.” Dave & Buster’s, Inc.

v. White Flint Mall, LLLP, No. 14-1794, 2015 WL 3622239, at *3 (4th Cir. June 11, 2015)

(quoting Singer Co. v. Balt. Gas & Elec. Co., 558 A.2d 419, 426 (Md. 1989)). The right to

maintain an action for its breach continues so long as the breach continues and plaintiff is

damaged thereby. Id.

       Here, the alleged “breach” that would form the basis for the declaratory judgment action

would be De Simone’s attempts to exclude VSL from the right to use the VSL#3 Know-How by

claiming personal ownership of those rights. That breach continues to this day, as evidenced by

De Simone’s Complaint itself. Therefore, De Simone’s breach is continuous, and each

successive breach begins the running of the statute of limitations anew.

       Furthermore, and for the reasons stated in Section II.A.ii above, De Simone’s reliance on

the Patent License Agreement, the Confidential Disclosure Agreement, and the January 2010

Know-How Agreement is misplaced, and those agreements cannot be the basis for De Simone’s

statute of limitations defense. Likewise, De Simone’s argument that the reissuance of the ‘615

Patent gave VSL constructive knowledge of De Simone’s assertion of ownership of the VSL#3




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Know-How is without merit, as the ‘615 Patent does not encompass the VSL#3 Know-How.6

(See supra Section I.A.) For the reasons stated above in Section I.C, De Simone cannot impute

Mr. Terenzi’s knowledge to VSL, and therefore his alleged knowledge cannot serve as the basis

for De Simone’s statute of limitations defense.

        Finally, under § 5-203 of the Maryland Code, “If the knowledge of a cause of action is

kept from a party by the fraud of an adverse party, the cause of action shall be deemed to accrue

at the time when the party discovered, or by the exercise of ordinary diligence should have

discovered the fraud.” Md. Code Ann., Cts. & Jud. Proc. § 5-203 (West). VSL has alleged that

De Simone fraudulently concealed his intention to compete with VSL by, inter alia, entering into

the agreements that were beneficial to De Simone and harmful to VSL, and withholding this

information from VSL’s disinterested officers and directors and shareholders. (Counterclaim ¶¶

258-259.)    As such, the statute of limitations would not begin to run until VSL actually

discovered De Simone’s fraud. For these reasons, the Court should deny De Simone’s Motion to

Dismiss Count I.

                B.      Count II (Declaratory Relief) Is Proper Because a Justiciable
                        Controversy Exists as to Whether De Simone Transferred Other
                        Inventions to VSL.

        In Count II, VSL alleges that “De Simone has failed to transfer to VSL all the rights

relating to the inventions made by him in the field of pharmaceutical nutritional compositions

and active principles for human and animal use since the incorporation of VSL.”7 (Counterclaim


6
  De Simone’s reliance on M & T Chems., Inc. v. Int’l Bus. Machs. Corp., 403 F. Supp. 1145 (S.D.N.Y.
1975) is misplaced because in M & T Chems. the patent embodied and disclosed the trade secret itself,
thereby destroying the trade secret. Id. at 1149. Here, the ‘615 Patent does not embody or disclose the
VSL#3 Know-How at issue, and transfer of just the ‘615 Patent would not have any effect on the parties’
rights to the related intellectual property.

7
  This allegation is not limited to non-VSL#3 inventions. (Counterclaim ¶ 235.) Additionally, this is not
limited to the time during which De Simone was employed by VSL; but rather, applies to any inventions
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¶ 235.) If true, VSL’s claim for relief in Count II is plausible on its face, and therefore satisfies

the pleading standards. That VSL did not list the specific inventions in Count II is of no import,

nor does it mean that the allegation is “purely hypothetical,” as alleged by De Simone. (De

Simone Mem. in Supp. at 27.) VSL cannot identify specific inventions because De Simone has

deliberately withheld, concealed or destroyed that information. As alleged in Count XIX of the

Counterclaim, De Simone has failed to return documents and information to VSL. De Simone’s

argument appears to be that, because he has effectively concealed his duplicity, he cannot now

be called to answer for it. That is not the law.

               C.      Count III (Declaratory Relief) Properly Alleges That Various
                       Agreements Are Void.

       Count III of the Counterclaim seeks a declaration that the various agreements De Simone

used to carry out his scheme to recoup ownership of VSL#3 are void and/or unenforceable.

Specifically, Count III seeks to invalidate the 2008 Danisco Agreement, the 2014 Danisco

Supply Agreement, the Canadian Know-How Agreement, the January 2010 Know-How

Agreement, and the March 2010 Know-How Agreement (the “Void Agreements”).

       De Simone argues that VSL has not alleged any grounds for setting aside the contracts in

question. (De Simone Mem. in Supp. at 28-30.) In making this argument, De Simone ignores

entirely the factual allegations contained throughout the Counterclaim (and incorporated into

Count III by reference), which identify various bases for invalidating the Void Agreements.

Simply put, VSL seeks to invalidate the Void Agreements based on De Simone’s fraud,

usurpation of corporate opportunities, and breach of fiduciary duties; as well as the fact that De

Simone did not own the Know-How for VSL#3 when he purportedly licensed such Know-How


made by him as long as he owned, directly or indirectly, 4.99% or more of the voting stock of VSL.
(Counterclaim ¶¶ 233-234.)


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to other entities in the Void Agreements, and therefore the contracts were void for lack of

consideration. All of these reasons are valid bases to declare the agreements in question invalid

and unenforceable.

       Under Maryland law, “contracts ... may be subject to rescission on a finding of fraud,

duress, undue influence, or negligent misrepresentation in their making, and declaratory

judgments may be issued determining the validity of such contracts.” Lawley v. Northam, No.

10-1074, 2011 WL 1327652, at *11 (D. Md. Apr. 5, 2011) (quoting Hale v. Hale, 503 A.2d 271,

274 (Md. Ct. Spec. App. 1986), cert. denied, 507 A.2d 631 (1986)). Similarly, under Delaware

law, contracts executed by a self-dealing director usurping a corporate opportunity (in violation

of that officer’s duty of loyalty) are void. Strassburger v. Earley, 752 A.2d 557 (Del. Ch. 2000),

as revised (Jan. 27, 2000).     See also Warren v. Warren, 460 A.2d 526, 528 (Del. 1983);

Michelson v. Duncan, 407 A.2d 211, 218-19 (Del. 1979).8 Finally, Maryland law recognizes the

general rule that “[a]n illusory promise cannot constitute valid consideration.” Manning v.

Mercatanti, 898 F. Supp. 2d 850, 858 (D. Md. 2012) (quoting 2 Arthur L. Corbin, Corbin on

Contracts § 5.28 (2003) (stating that “[a]n illusory promise is neither enforceable against the one

making it, nor is it operative as consideration for a return promise”). “Without a binding

obligation, sufficient consideration does not exist to support a legally enforceable

agreement.” Id. De Simone’s offer to license the VSL#3 Know-How was illusory because De

Simone had previously transferred it to VSL. Whether based on De Simone’s fraud, usurpation

of corporate opportunities, and breach of fiduciary duties; or the fact that De Simone did not own

the Know-How for VSL#3 when he purportedly licensed such Know-How to other entities in the

8
 The law is not substantially different under Maryland law. See Sullivan v. Easco Corp., 656 F. Supp.
531, 533 (D. Md. 1987) (contract unfair to corporation entered in bad faith by corporate officer is a
nullity); Chesapeake Constr. Corp v. Rodman, 261 A.2d 156 (Md. 1970).


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Void Agreements, VSL has alleged multiple theories under which these agreements are void and

unenforceable.

       De Simone also rehashes the same flawed arguments with respect to notice and the

statute of limitations. For instance, De Simone avers that it is too late to set aside the 2008

Danisco Agreement because VSL had knowledge of that agreement at least three years ago.

However, as alleged in the Counterclaim, VSL’s corporate minutes fail to reflect any reference to

the 2008 Danisco Agreement, and VSL had no knowledge of the 2008 Danisco Agreement until

the summer of 2014. (Counterclaim ¶¶ 102-103.) De Simone relies on documents outside the

pleadings to aver that Paolo Cavazza knew of the 2008 Danisco Agreement by 2011, yet there is

no indication that Paolo Cavazza was aware of the terms or import of the 2008 Danisco

Agreement, or that he ever had the opportunity to review the agreement itself. Moreover,

Cavazza was not then and has not since been an officer, director or agent of VSL.            His

knowledge is irrelevant to the question of whether VSL was aware of the 2008 Danisco

Agreement. (See supra Section I.B.) Thus, even if De Simone were correct in his legal assertion

that knowledge of the 2008 Danisco Agreement somehow precluded setting aside the agreement,

there is nothing to suggest that VSL had such notice and the Court should deny De Simone’s

Motion to Dismiss Count III.

                 D.     Count IV Adequately Pleads a Cause of Action for Breach of
                        Fiduciary Duty Under Delaware Law.

                      i.   Delaware Law Recognizes a Separate Tort Action for Breach of
                           Fiduciary Duty.

       De Simone incorrectly argues that the Court should dismiss Count IV, as “Maryland does

not recognize a separate tort action for breach of fiduciary duty.” (De Simone Mem. in Supp. at

31.) As previously stated, however, Maryland follows the internal affairs doctrine, and therefore



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Delaware law applies to VSL’s breach of fiduciary duty claim in Count IV. Delaware recognizes

a separate tort action for breach of fiduciary duty. In re Am. Int’l Grp., Inc., 965 A.2d 763, 799

(Del. Ch. 2009) aff’d sub nom., Teachers’ Ret. Sys. of La. v. PricewaterhouseCoopers LLP, 11

A.3d 228 (Del. 2011).

                     ii.   VSL’s Breach of Fiduciary Duty Claim Is Adequately Pled.

       Directors and officers of a Delaware corporation owe fiduciary duties of loyalty and care.

In re Novell, Inc. S’holder Litig., No. 6032, 2014 WL 6686785, at *7 (Del. Ch. Nov. 25, 2014).

The duty of loyalty “requires an undivided and unselfish loyalty to the corporation [and]

demands that there shall be no conflict between duty and self-interest.” Guth v. Loft, Inc., 5 A.2d

503, 510 (Del. 1939). It “mandates that the best interest of the corporation and its shareholders

takes precedence over any interest possessed by a director [or] officer . . . and not shared by the

stockholders generally.” Cede & Co. v. Technicolor, Inc., 634 A.2d 345, 361 (Del. 1993).

Corporate officers and directors, therefore, “are not permitted to use their position of trust and

confidence to further their private interests.” Guth, 5 A.2d at 510.

       A director or officer breaches his duty of loyalty when he “fail[s] to pursue the best

interests of the corporation and its stockholders and therefore fail[s] to act in good faith.” In re

Rural/Metro Corp. Stockholders Litig., 102 A.3d 205, 253 (Del. Ch. 2014); Stone ex rel.

AmSouth Bancorporation v. Ritter, 911 A.2d 362, 370 (Del. 2006) (stating that the duty of good

faith is “a subsidiary element, i.e., a condition, of the fundamental duty of loyalty”) (internal

quotation marks omitted). A director or officer fails to act in good faith “where the fiduciary

intentionally acts with a purpose other than that of advancing the best interests of the

corporation,” In re Walt Disney Co. Derivative Litig., 906 A.2d 27, 67 (Del. 2006), and where

the challenged conduct “include[s] any action that demonstrates a faithlessness or lack of true



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devotion to the interests of the corporation and its shareholders.” Ryan v. Gifford, 918 A.2d 341,

357 (Del. Ch. 2007). A director or officer also breaches the duty of loyalty by engaging in self-

dealing or entering into a self-interested transaction. In re Coca-Cola Enters., Inc., No. 1927-

CC, 2007 WL 3122370, at *4 (Del. Ch. Oct. 17, 2007), aff’d, 954 A.2d 910 (Del. 2008).

       Without recounting and discussing in detail each and every breach alleged in the

Counterclaim, VSL has alleged that De Simone repeatedly breached his duty of loyalty to VSL

by putting his personal interests above those of VSL, usurping corporate opportunities that were

within VSL’s line of business, and engaging in other conduct to benefit himself and harm VSL.9

De Simone’s Memorandum even recounts seven specific types of allegations in the Counterclaim

which support VSL’s claim for breach of fiduciary duty. (De Simone Mem. in Supp. at 30-31.)

       Though De Simone attempts to rebut a few of those allegations on the merits (and only a

few), he cannot evade numerous allegations in the Counterclaim which, taken as true, establish

that he acted in his own self-interest to the detriment of VSL. The Counterclaim includes

specific factual allegations to show that De Simone engaged in self-dealing (Counterclaim ¶¶ 69-

87, 107-117); that he surreptitiously set up plans to cut off VSL’s supply of VSL#3 and compete

with VSL (Counterclaim ¶¶ 118-126, 162-185); that he concealed from VSL his dealings with

respect to Danisco and his attempts to re-claim ownership over the VSL#3 Know-How

(Counterclaim ¶¶ 100-106, 118-126); that he filed confusingly similar trademark applications for

his competing product (Counterclaim ¶¶ 7, 148-161); that he intentionally burdened VSL with a

commercially unviable contract with Johnson & Johnson in hopes of diverting that market to his

new entity (Counterclaim ¶¶ 5, 127-137); and various other specific allegations which would


9
 VSL incorporates by reference its arguments regarding De Simone’s breaches of his fiduciary duties
made in its Opening Brief in Support of its Motion for a Preliminary Injunction [Dkt. 55-1].


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demonstrate clear breaches of fiduciary duties by De Simone. As such, Count IV is more than

adequately pled.

                    iii.   Count IV Is Not Time Barred.

       Finally, De Simone argues that because Paolo Cavazza and his late brother, Claudio

Cavazza, were aware of the J&J Agreements, VSL’s breach of fiduciary duty claim is time

barred and should be dismissed. (De Simone Mem. in Supp. at 32.) As set forth supra in

Section I.B, this argument fails as—even if their knowledge of the J&J Agreements were

sufficient to put them on notice of De Simone’s deceit—their knowledge cannot be imputed to

VSL.

               E.      Count V (Conspiracy) Is Properly Pled Because VSL Alleges
                       Independent Tortious Acts by De Simone.

       In arguing that VSL’s conspiracy claim should be dismissed for failure to allege

independent tortious conduct, De Simone again ignores the numerous factual allegations plead in

support of VSL claims. In addition to the seven factual allegations of independent tortious

conduct contained in Paragraph 251 of the Counterclaim (which De Simone acknowledges but

apparently dismisses without comment), the Counterclaim includes allegations of breach of

fiduciary duty (Count IV), fraud (Count VI), tortious interference (Count VII), and usurpation of

a corporate opportunity (Count VIII). Thus, the Counterclaim alleges multiple instances of

independent tortious conduct by De Simone.

       The case cited by De Simone, Alleco Inc. v. Harry & Jeanette Weinberg Found., Inc.,

665 A.2d 1038 (1995), simply does not support De Simone’s argument. Alleco merely stands for

the proposition that an action for conspiracy cannot lie “unless the plaintiff can show that he has

in fact been aggrieved, or has sustained actual legal damage by some overt act, done in

pursuance and execution of the conspiracy.” 665 A.2d at 1045 (quoting Kimball v. Harman &

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Burch, 34 Md. 407, 409-411 (1871)). Here, VSL has not merely alleged that “De Simone and

Park conspired to cut off VSL’s supply of VSL#3, misappropriate VSL’s trade secrets, and

compete directly with VSL”; rather, VSL alleges that “[t]hrough the wrongful and unlawful acts

described [in the Counterclaim], Park and De Simone carried out their conspiracy” to VSL’s

detriment. (Counterclaim ¶¶ 249-250 (emphasis added).) As such, VSL has sufficiently pled a

claim of conspiracy in Count V.

        De Simone also incorrectly asserts that VSL has failed to properly plead its claim for

punitive damages. On a motion to dismiss, the claim for punitive damages should not be

dismissed “unless it appears beyond doubt that the plaintiff can prove no set of facts in support

of his claim which would entitle him to relief.” Nunes v. Merrill Lynch, Pierce, Fenner & Smith,

Inc., 609 F. Supp. 1055, 1061 (D. Md. 1985). Maryland law limits the availability of punitive

damages to situations in which the defendant’s conduct is characterized by “knowing and

deliberate wrongdoing.” Ellerin v. Fairfax Sav., F.S.B., 652 A.2d 1117, 1123 (Md. 1995).10 In

support of his argument that VSL’s claim for punitive damages should be dismissed, De Simone

cites the “actual malice” standard as stated in Owens-Illinois, Inc. v. Zenobia, 601 A.2d 633, 650

(Md. 1992) (punitive damages may only be awarded in such cases when “the plaintiff has

established that the defendant’s conduct was characterized by evil motive, intent to injure, ill

will, or fraud, i.e., ‘actual malice.’”). (De Simone Mem. in Supp. at 34.)

        The allegations in the Counterclaim demonstrate precisely such malice by De Simone.

VSL alleges that for a period of more than eight years, De Simone conspired with Park in a


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   Maryland courts have found punitive damages to be of a substantive nature, and, like torts in general,
stated that the choice of law related thereto should be determined under the doctrine of lex loci delicti.
Naughton v. Bankier, 691 A.2d 712, 716 (Md. Ct. Spec. App. 1997). Because the place of injury was
Maryland, Maryland law will apply to VSL’s claim for punitive damages arising out of De Simone’s
conspiracy.


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scheme of self-dealing and deceit in order to defraud VSL, divert its corporate assets, and usurp

every available opportunity from VSL for his own benefit. VSL alleges that these actions were

malicious and willful, and committed with the purpose of injuring VSL. (Counterclaim ¶ 252.)

Indeed, the fraudulent conduct underlying De Simone’s conspiracy entails, by definition, the

type of deliberate wrongdoing and evil motive that has traditionally justified the award of

punitive damages. Ellerin v. Fairfax Sav., F.S.B., 652 A.2d 1117, 1126 (Md. 1995); Kerby v.

Mortgage Funding Corp., 992 F. Supp. 787, 803 (D. Md. 1998). As such, VSL has sufficiently

pled a cause of action under Maryland law.

               F.      Count VI States a Viable Claim for Fraud.

       To present a prima facie case of fraud, one must plead: (1) a false representation made by

a party; (2) its falsity was known to that party or the misrepresentation was made with such

reckless indifference to truth as to impute knowledge to the party; (3) the misrepresentation was

made for the purpose of defrauding some other person; (4) the person not only relied on the

misrepresentation but had a right to rely upon it with full belief in its truth, and the person acted

in reliance upon the misrepresentation; and (5) the person suffered damage directly resulting

from the misrepresentation. Gross v. Sussex Inc., 630 A.2d 1156, 1161 (Md. 1993). Fraud may

be based on a material omission or concealment as well as false representation. Fox v. Kane-

Miller Corp., 542 F.2d 915, 918-19 (4th Cir. 1976). VSL has alleged facts supporting the

elements of a prima facie case of fraud, and De Simone’s arguments to the contrary are

unavailing.

       De Simone first argues that VSL cannot pursue a fraud claim on the basis of De Simone’s

“failure to disclose the specifics of his intent to compete with VSL [because] no such duty to

disclose exists under Maryland law.” (De Simone Mem. in Supp. at 35.) VSL’s fraud claim in



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Count VI is not, however, grounded upon De Simone’s failure to disclose the specifics of his

intent to compete with VSL; but rather his failure to disclose his intent to compete at all.

(Counterclaim ¶ 255.) As the court explicitly stated in Maryland Metals, Inc. v. Metzner, 382

A.2d 564, 569 (Md. 1978), which De Simone cites in support of his argument, “an employee is

under an obligation to be candid with his employer in preparing to establish a competing

enterprise.” Maryland Metals, 382 A.2d at 569. The Maryland Metals court went on to state

that the right to prepare to compete with an employer “has not been applied to immunize

employees from liability where the employee has committed some fraudulent, unfair or wrongful

act in the course of preparing to compete in the future.” Id. The court then enumerated

examples of such acts, including misappropriation of trade secrets, misuse of confidential

information, solicitation of employer’s customers prior to cessation of employment, conspiracy

to bring about mass resignation of employer’s key employees, and usurpation of employer’s

business opportunity—almost all of which form the basis for VSL’s claims against De Simone.

Id. at 569-70. VSL has alleged that for no less than eight years, De Simone planned and

conspired to usurp VSL’s business and compete directly with VSL in the sale of VSL#3.

(Counterclaim ¶¶ 249-253.) In fact, De Simone did not simply plan to compete, he schemed to

put VSL out of business and seize its market share by interfering with is supply of VSL#3. (Id.)

These facts are more than sufficient to survive De Simone’s Motion to Dismiss.

       De Simone’s second argument for dismissal of VSL’s fraud claim is that De Simone’s

execution of agreements that were entirely self-serving, contrary to VSL’s best interest, and

designed to allow De Simone to compete directly with VSL and usurp VSL’s business is “simply

not fraud because he was not misrepresenting or concealing anything to or from VSL Inc.” This

argument is factually inaccurate and directly contrary to the allegations in the Counterclaim. The



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Counterclaim alleges, and VSL will prove, that De Simone concealed his misconduct and self-

dealing from the company. (Counterclaim ¶¶ 69-117, 256-259).           In fact, the Counterclaim

demonstrates that De Simone flatly refused to provide information regarding VSL to its

shareholders upon request. (Counterclaim ¶¶ 138-147). Because the Counterclaim includes

specific allegations regarding De Simone’s concealment of information from VSL, De Simone’s

attempt to dismiss VSL’s fraud claim is meritless.

       Finally, De Simone incorrectly asserts that VSL has failed to properly plead its claim for

punitive damages in Count VI, “for the same reasons articulated” in regard to Count V

(conspiracy). (De Simone Mem. in Supp. at 36.) However, as set forth above in Section II.E,

the elements of the tort of fraud or deceit in Maryland include, by definition, the type of

deliberate wrongdoing and evil motive that has traditionally justified the award of punitive

damages. Ellerin, 652 A.2d at 1126. VSL alleges that De Simone’s material omissions were

deliberate and intentional, and not through ignorance, mistake, or negligence. (Counterclaim ¶¶

255, 256, 259, 260, 263.) VSL further alleges that De Simone’s fraud was malicious and willful,

and for “the purpose of injuring VSL.” (Counterclaim ¶ 264.) As such, by definition, VSL’s

claim for punitive damages is sufficiently pled to survive De Simone’s Motion to Dismiss. For

these reasons, the Court should deny De Simone’s Motion to Dismiss Count VI.

               G.     Count VII (Tortious Interference) Is Founded Upon Sufficient Factual
                      Allegations.

       In   arguing   that   VSL’s    claim    for   tortious   interference   with   a   business

opportunity/relationship should be dismissed, De Simone again ignores Maryland law and the

allegations made in the Counterclaim. In order to state a claim for tortious interference with a

contract or economic relationship, a plaintiff must allege: (1) intentional and willful acts; (2)

calculated to cause damage to the plaintiffs in their lawful business; (3) done with the unlawful

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purpose to cause such damage and loss, without right or justifiable cause on the part of the

defendants; and (4) actual damage and resulting loss. Painter’s Mill Grille, LLC v. Brown, No.

11-1607, 2012 WL 576640, at *8 (D. Md. Feb. 21, 2012) aff’d, 716 F.3d 342 (4th Cir. 2013).

       De Simone incorrectly alleges that “violence or intimidation, defamation, injurious

falsehood or other fraud, violations of criminal law, and the institution or threat of groundless

civil suits or criminal prosecutions in bad faith” are the only wrongful or unlawful conduct that

can give rise to a proper claim. (De Simone Mem. in Supp. at 36 (citing Alexander & Alexander

Inc. v. Evander, 650 A.2d 260 (1994)).) Maryland courts have held that wrongful conduct may

also include violations of statutes, Natural Design, Inc. v. Rouse Co., 485 A.2d 663, 676 (Md.

1984) (holding that violation of Maryland Antitrust Act constitutes wrongful conduct for tortious

interference with business relations); violations of the common law, Klingel’s Pharmacy v.

Sharp & Dohme, 64 A. 1029 (Md. 1906) (common law antitrust violations deemed wrongful);

and common law torts, Baron Fin. Corp. v. Natanzon, 471 F. Supp. 2d 535 (D. Md. 2006).

Additionally, “[w]hat is improper or wrongful conduct is incapable of precise definition.”

Macklin v. Robert Logan Assocs., 639 A.2d 112, 119 (Md. 1994). Whether particular conduct is

proper or improper for purposes of a tortious interference claim is a factual question to be

determined on the basis of all the facts and circumstances, and therefore, it is inappropriate for a

motion to dismiss. Id.

       Here, even if De Simone is correct in his assertion that the “wrongful acts” element of a

claim for tortious interference are limited to those enumerated in Alexander & Alexander, VSL’s

tortious interference claim is based on, inter alia, De Simone’s fraud—one of the specific acts

enumerated in Alexander & Alexander—and therefore cannot be dismissed. (Counterclaim ¶

269.) VSL has also pled numerous other wrongful acts as the basis for its claim including breach



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of fiduciary duty, usurpation of corporate opportunities, misappropriation of trade secrets, and

misuse of VSL’s confidential information. As such, the Court should deny De Simone’s Motion

to Dismiss Count VII.

       De Simone also relies upon the 2006 Confidential Disclosure Agreement as authorizing

him to cut off VSL’s supply of VSL#3 from Danisco. (De Simone Mem. in Supp. at 37.)

However, as discussed supra in Section II.A.ii, the Confidential Disclosure Agreement does not

foreclose VSL’s claim. That agreement was part and parcel of De Simone’s scheme to regain

control over VSL#3, and he cannot rely upon an agreement that he illicitly executed on behalf of

VSL to excuse his own self-dealing. In other words, the Confidential Disclosure Agreement was

an integral part of De Simone’s tortious interference, as he used that agreement to give himself

control—without authorization—over VSL’s supply chain with Danisco. That agreement does

not excuse De Simone’s tortious conduct; rather, it reinforces VSL’s allegations.

       Moreover, De Simone fails entirely to consider VSL’s numerous other allegations

regarding De Simone’s fraud and breaches of fiduciary duty that support its tortious interference

claim and are unrelated to the Confidential Disclosure Agreement. Accordingly, the Court

should deny De Simone’s Motion to Dismiss Count VII.

               H.       Count VIII States a Proper Claim for Usurpation of a Corporate
                        Opportunity.

       De Simone argues that VSL’s claim for usurpation of a corporate opportunity should be

dismissed because De Simone was contractually permitted to engage in the conduct underlying

VSL’s claim. (De Simone Mem. in Supp. at 37-38.) Once again, however, De Simone ignores

entirely VSL’s allegations that the very contracts upon which he relies (e.g., the January 2010

Know-How Agreement, the 2014 Danisco Supply Agreement, etc.), were procured by fraud and

deceit, in breach of his fiduciary duties, and are therefore unenforceable. De Simone would have

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the Court grant his Motion to Dismiss based on the language and effect of contracts that

represent the very heart of the parties’ dispute—that De Simone and his co-conspirator Park

orchestrated a scheme to defraud VSL and usurp its corporate opportunity. De Simone cannot

reasonably contend that, absent his fraudulent conduct and breach of fiduciary duties to VSL,

VSL would not have been able to continue purchasing VSL#3 from Danisco and sell the product

to the public. This is the basis of VSL’s usurpation claim, and De Simone has presented no valid

argument which should preclude VSL from moving forward with its claim. As such, the Court

should deny De Simone’s Motion to Dismiss Count VIII.

                I.      Counts IX (Misappropriation of Trade Secrets), X (Conversion) and
                        XI (Unjust Enrichment) Are Valid Because VSL Has Sufficiently
                        Alleged Its Ownership of the VSL#3 Intellectual Property and Use of
                        That Intellectual Property by De Simone et al.

        Seeking dismissal of VSL’s claims related to De Simone’s misappropriation of trade

secrets, De Simone relies again upon the 2001 Patent License Agreement, 2006 Confidential

Disclosure Agreement, and 2010 Know-How License Agreement as establishing his ownership

of the VSL#3 Know-How. In essence, De Simone again argues that the Court should dismiss

those counts simply because he is right and VSL is wrong. This is not a valid basis for a motion

to dismiss. Edwards v. City of Goldsboro, 178 F.3d 231, 243 (“The purpose of a Rule 12(b)(6)

motion is to test the sufficiency of the complaint; [it] does not resolve contests surrounding the

facts, the merits of a claim, or the applicability of defenses.”).

        As has been argued ad nauseam, De Simone’s reliance on these three agreements,

without considering the myriad other contracts and factual allegations made in the Counterclaim,

is not a valid basis for the Court to grant De Simone’s Motion to Dismiss. Tellingly, De Simone

relies on the Patent License Agreement—the language of which is clearly limited to the ‘615

Patent—to support his position that he owned the VSL#3 Know-How and merely licensed it to

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VSL; while the language of the Mendes Assignment Agreement, on which VSL relies, is a broad

transfer of rights, which include the VSL#3 Know-How. Indeed, it was based on this agreement

to transfer the VSL IP that the other members of the joint venture agreed to pay De Simone and

fund the ongoing research, development, and marketing expenses to commercialize VSL#3.

(Counterclaim ¶¶ 38-39.) Despite De Simone’s overly emphatic contentions to the contrary, the

plain language of the agreements simply does not support De Simone’s argument that he owns

the VSL#3 Know-How, and De Simone’s Motion to Dismiss Counts IX, X, and XI should be

denied on that basis as well.

                 J.       VSL Has Sufficiently Pled Counts XII and XIII Relating to De
                          Simone’s Direct and Contributory Trademark Infringement and
                          Unfair Competition.

        In Counts XII (trademark infringement) and XIII (unfair competition under the Lanham

Act and Maryland common law), VSL has alleged both direct and contributory infringement of

its VSL#3 trademark against De Simone. (Counterclaim ¶¶ 316-352.) For direct trademark

infringement and/or unfair competition, a plaintiff must establish that: “it owns a valid and

protectable mark, and that the defendant’s use of a ‘reproduction, counterfeit, copy, or colorable

imitation’ of that mark creates a likelihood of confusion.” George & Co. LLC v. Imagination

Entm’t Ltd., 575 F.3d 383, 393 (4th Cir. 2009) (quoting 15 U.S.C. § 1114(1)(a)).11 Contributory

trademark infringement occurs when a party “‘intentionally induces another to infringe a

trademark, or if it continues to supply its product to one whom it knows or has reason to know is




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  This Court has held that “[c]ommon law infringement and unfair competition are generally analyzed together with
federal Lanham Act claims, because Maryland common law on these issues nearly always tracks the federal Lanham
Act.” HQM, Ltd. v. Hatfield, 71 F. Supp. 2d 500, 504 (D. Md. 1999) (dismissing federal statutory and Maryland
common law claims together and applying the same analysis to both) (citing Nat’l Fed. of the Blind, Inc. v.
Loompanics Enters., Inc., 936 F. Supp. 1232, 1236 n. 4 (D. Md. 1996). This Court therefore should consider VSL’s
Lanham Act and Maryland common law trademark claims together and apply the same analysis to each claim.


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engaging in trademark infringement.’” Rosetta Stone Ltd. v. Google, Inc., 676 F.3d 144, 163

(4th Cir. 2012) (quoting Inwood Labs., Inc. v. Ives Labs., Inc., 456 U.S. 844, 854 (1982)).

       De Simone argues that these counts fail to state a claim against him because there are no

allegations that he used the trademark in commerce. (De Simone Mem. in Supp. at 40.) De

Simone’s arguments in support of this point amount to an improper argument on the merits of the

claims instead of their sufficiency for pleading purposes.

       De Simone further argues that VSL cannot establish De Simone’s use of the infringing

marks “in commerce” because VSL has not yet proven a connection between De Simone and the

federal trademark applications submitted by Mendes SA for “VSL3 BY DE SIMONE” and

“VSL3TOTAL.” However, De Simone ignores the abundant factual allegations establishing his

connection to the trademark applications filed by Mendes SA. VSL alleges in its Counterclaim

that Mendes SA is a company controlled by De Simone (Counterclaim ¶ 153); that while still

CEO of VSL, De Simone was actively engaged in establishing his competing business through

Mendes SA to establish a competing product known as “Vivomixx,” which is promoted as being

identical in composition to VSL#3 (Counterclaim ¶ 157); that through Mendes SA De Simone

filed the “VSL3 BY DE SIMONE” and “VSL3TOTAL” federal trademark applications

(Counterclaim ¶ 154); that De Simone has purportedly removed VSL from, and added Mendes

SA to, the list of entities to whom Danisco can supply VSL#3 (Counterclaim ¶ 239); that De

Simone has used, is using, and/or is inducing third parties to use the terms “VSL – 3” and

“VSL#3” to advertise, market, promote, and offer to sell competing food supplement products

(Counterclaim ¶ 327); and that, upon information and belief, Mendes SA is selling and/or

inducing the sale of infringing products within Maryland (Counterclaim ¶ 23). The exhibits

heavily relied upon by De Simone in his Memorandum are merely examples of Internet



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advertising and point-of-sale materials that, upon information and belief, evidence Mendes SA’s

and De Simone’s infringement and do not comprise the entirety of proof against them. (See

Counterclaim ¶¶ 159-160, Exs. 25-27.)

       De Simone further argues that VSL has not proven the connection between these

particular exhibits and U.S. consumers, such that VSL cannot establish a likelihood of confusion.

(De Simone Mem. in Supp. at 40-41.) The question of whether there is a likelihood of confusion

with VSL’s U.S. customers “is a factual issue dependent on the circumstances of [the] case and

is ill-suited on a motion to dismiss.” Potomac Conference Corp. of Seventh-day Adventists v.

Takoma Acad. Alumni Ass’n, Inc., 2 F. Supp. 3d 758, 768 (D. Md. 2014).

       VSL has also alleged in its Counterclaim that De Simone is contributorily liable for

knowingly inducing ExeGi’s trademark infringement as well. In particular, VSL alleged that

upon ExeGi’s formation, ExeGi began working with De Simone on plans to produce and market

a probiotic product to directly compete with VSL#3 using intellectual property misappropriated

from VSL (Counterclaim ¶ 187); that De Simone has purportedly removed VSL from, and added

ExeGi to, the list of entities to whom Danisco can supply VSL#3 (Counterclaim ¶ 239); that

ExeGi’s CEO wrote to VSL stating that ExeGi intended to launch a “generic formulation” of

VSL#3 and that De Simone would be “supporting this effort by granting ExeGi access to his

know-how and supply for the U.S. and Canada” (Counterclaim ¶ 188); that ExeGi has promoted

its “Visbiome” product as one in collaboration with De Simone (Counterclaim ¶¶ 187-194, Exs.

32, 34-36); that ExeGi is infringing the VSL#3 Trademarks by promoting its “Visbiome” product

with extensive use of “VSL#3” (Counterclaim ¶¶ 191-196, Exs. 35-36); and that De Simone is

liable for contributory trademark infringement of the VSL#3 Trademarks by knowingly inducing




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third parties to use the term “VSL#3” to advertise, market, promote, and offer to sell competing

food supplement products (Counterclaim Counts XII and XIII, ¶¶ 317, 327, 338, and 342).

       Therefore, not only has VSL sufficiently pled direct and contributory infringement

against De Simone as to his and Mendes SA’s infringing acts, it has also sufficiently pled

contributory infringement against De Simone as to his intentional inducement of ExeGi to

infringe the VSL#3 Trademarks. De Simone’s Motion to Dismiss does not even address the

allegations of his involvement with ExeGi. The Court should therefore deny De Simone’s

Motion to Dismiss Counts XII and XIII of the Counterclaim.

              K.      VSL Will Voluntarily Dismiss Counts XIV and XXIV Asserting
                      Trademark Infringement in Violation of Md. Code Ann., Bus. Reg.,
                      § 1-414.

       In Counts XIV and XXIV of the Counterclaim, VSL included claims under Md. Code

Ann., Business Regulation, § 1-401 et seq. for willful and deliberate unlawful use of the VSL#3

Trademarks.    Although federally registered under the Lanham Act and protectable under

Maryland common law, VSL’s VSL#3 Trademarks are not separately registered with the

Maryland Secretary of State, as is required to obtain relief under the Maryland statute.

Therefore, simultaneously with VSL’s filing of this memorandum, VSL is filing a notice of

voluntarily dismissal of Counts XIV and XXIV pursuant to Fed. R. Civ. P. 41(c). This voluntary

dismissal does not, however, alter VSL’s federal trademark, unfair competition or Maryland

common law claims against Mendes SA, De Simone, or ExeGi. See Md. Code Ann., Bus. Reg.

§ 1-402 (“This subtitle does not affect adversely a right or the enforcement of a right in a mark

acquired in good faith at any time at common law.”); HQM, Ltd. v. Hatfield, 71 F. Supp. 2d 500,

504 (D. Md. 1999) (“Common law infringement and unfair competition are generally analyzed

together with federal Lanham Act claims, because Maryland common law on these issues nearly



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always tracks the federal Lanham Act.”). De Simone’s Motion to Dismiss is therefore moot as it

relates to Counts XIV and XXIV of the Counterclaim.

               L.      Count XV (Declaratory Judgment as to Cancellation of Trademarks)
                       Is Properly and Sufficiently Pled.

       Count XV of VSL’s Counterclaim requests a declaration from the Court that the

“VSL3TOTAL Application and the VSL3 BY DE SIMONE Application are invalid and that

Mendes SA does not have the right to register the marks set forth in either application.”

(Counterclaim ¶ 367.) De Simone argues that because Mendes SA is the named applicant and

“persons other than Prof. De Simone actually filed them,” De Simone should not be a defendant

to this claim. (De Simone Mem. in Supp. at 43.) This is a factual issue not appropriate for

resolution pursuant to Fed. R. Civ. P. 12(b)(6). VSL has properly alleged that De Simone filed

both applications at issue “through Mendes SA, a Swiss company controlled by De Simone.”

(Counterclaim ¶¶ 153-154.)      VSL has also alleged that while De Simone “was the CEO and

Chairman of VSL, De Simone was actively engaged establishing his competing business through

Mendes SA” (Counterclaim ¶ 157), and that De Simone has purportedly removed VSL and

added Mendes SA to the list of entities to whom Danisco can supply VSL#3. (See Counterclaim

¶ 229.) The “other persons” De Simone references as having “actually filed” the applications

were the law firms of Nixon & Vanderhye P.C. and Abrema Agence de Brevets & Marques,

Ganguillet. (De Simone Mem. in Supp. at 43; see Counterclaim Exs. 23-24.) The full extent of

De Simone’s control over Mendes SA, its attorneys, and its decisions to file federal trademark

applications incorporating the VSL#3 Trademarks and De Simone’s own name are facts that will

be further clarified through discovery in this case.

       De Simone’s reliance on the Vina Casa Tamaya case to argue that there is no actual case

or controversy is also misplaced. (De Simone Mem. in Supp. at 43.) In that case, the dispute

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centered solely on the defendant’s attempted registration—not its use—of the marks in question.

See Vina Casa Tamaya S.A. v. Oakville Hills Cellar, Inc., 784 F. Supp. 2d 391, 395 (S.D.N.Y.

2011). In contrast, the Vina Casa Tamaya court itself cited to several cases in which courts have

denied similar motions to dismiss on the basis that a more substantial controversy existed

between the parties.12 Those cases more closely resemble the facts before this Court, where (a)

VSL has filed underlying trademark infringement claims for De Simone’s and Mendes SA’s

infringing use of the applied-for trademarks; (b) Mendes SA has filed a cancellation proceeding

with the Trademark Trial and Appeal Board (“TTAB”) on the basis that VSL’s asserted

registrations are a barrier to registration of the applied-for trademarks; and (c) the development,

use, and filing of the applied-for marks are the subject of several other VSL claims before this

Court.

          This Court should further deny De Simone’s Motion to Dismiss in the interest of judicial

economy, as the issues before this Court will not only settle the issues before the U.S. Patent and

12
     Vina Casa Tamaya, 784 F. Supp. 2d at 396:

          Water Pik, Inc. v. Med-Sys., Inc., No. 10-cv-01221-PAB-CBS, 2011 WL 843916, at *2
          (D.Colo. Mar. 8, 2011) (finding jurisdiction where the defendant not only opposed
          registration of the plaintiffs mark in the TTAB but also had filed a federal trademark
          infringement suit against plaintiff which the defendant then dismissed without prejudice
          to its refiling); Blue Athletic, Inc. v. Nordstrom, Inc., No. 10-cv-036, 2010 WL 2836303,
          at *4 (D.N.H. July 19, 2010) (“[T]he combination of two demand letters and formal
          TTAB opposition on infringement grounds, all steeped in the language of trademark
          infringement, is sufficient to meet the MedImmune standard.”); Venugopal v. Sharadha
          Terry Prods., Ltd., No. 07-CV-00484C, 2009 WL 1468462, at *4 (W.D.N.Y. May 22,
          2009) (finding jurisdiction where the defendant asserted in cease-and-desist letter to
          plaintiff that it believes any use of the plaintiff's trademark would infringe on the
          defendant's use of its own trademark and subject plaintiff to liability for trademark
          infringement and unfair competition); Floyd's 99 Holdings, LLC v. Woodrum, No. 08-cv-
          01321-MSK-BNB, 2009 WL 798804, at *5 (D. Colo. Mar. 24, 2009) (“The existence of
          [a TTAB] proceeding, coupled with the parties' extensive history of confrontation and
          negotiation concerning their competing marks and [the defendant's] prior threat of
          litigation, sufficiently demonstrates the existence of a case or controversy sufficient to
          support invocation of the Declaratory Judgment Act.”).


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Trademark Office (“USPTO”), but the substantial underlying claims as well. The USPTO’s

jurisdiction, however, extends to only the registrability of the VSL#3 Trademarks.            If De

Simone’s Motion to Dismiss is granted it would leave the parties with both this federal litigation

and an active (and currently suspended per the request of Mendes SA) TTAB proceeding

concerning similar core facts and questions of law, without the potential for any true resolution

of their substantial disputes until after both proceedings reach a final disposition.

               M.      Count XVI Sufficiently Pleads a Claim for De Simone’s Breach of the
                       Patent License Agreement.

        As he did in contesting VSL’s claim for breach of fiduciary duty (Count IV), De Simone

argues that the Court should dismiss VSL’s claim for breach of the Patent License Agreement

(Count XVI) because De Simone claims that he did make the required offer of patent rights to

VSL. (De Simone Mem. in Supp. at 44.) However, VSL has alleged that CDS failed to do so, in

breach of his fiduciary duty, and none of the attachments to the pleadings suggest otherwise.

(Counterclaim ¶ 71, 251.) Thus, the claim for breach of the Patent License Agreement is well-

pled.

        De Simone also argues that Count XVI should be dismissed because VSL’s “cause of

action for breach of section 3.1 of the Patent License Agreement accrued no later than 2005,

when the duty to make the offer first arose and was not fulfilled.” (De Simone Mem. in Support

at 44.) As previously stated, De Simone should not be rewarded for the success of his deceit,

and whether under Maryland’s adverse domination doctrine or Delaware’s equitable tolling

doctrine, Count XVI is not time barred. (Supra Section I.D.)

        Additionally, De Simone’s argument that VSL was aware of De Simone’s acquisition of

full ownership rights over the ‘615 Patent the settlement is based entirely on the April 2005

Letter, an exhibit to an affidavit of counsel for Actial in the UK Litigation (which notably did not

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contain the price and conditions De Simone agreed with the co-owner, or grant the option to

acquire such rights). (De Simone Mem. in Supp. at 12.) As previously stated, Actial and VSL

are entirely separate companies, and therefore VSL is not bound by the affidavit. Moreover, as

previously stated, De Simone has provided no legal basis as to how the Court could rely on a

document that is not an exhibit to, or even referenced in, the Counterclaim. As such, the Court

should not consider the April 2005 Letter on De Simone’s Motion to Dismiss.13

                N.     Count XVII (Unjust Enrichment) Should Not Be Dismissed as the
                       Contract at Issue Is Disputed.

        Although De Simone is correct that no quasi-contractual claim can arise when a contract

exists between the parties concerning the same subject matter, De Simone ignores an exception

to the general rule. (De Simone Mem. in Supp. at 45.) Where the existence or terms of a

contract are disputed, then a plaintiff may plead unjust enrichment in the alternative to a breach

of contract. Swedish Civil Aviation Admin. v. Project Mgmt. Enters., Inc., 190 F. Supp. 2d 785,

792 (D. Md. 2002) (“[A]lthough SCAA may not recover under both contract and quasi-contract

theories, it is not barred from pleading these theories in the alternative where the existence of a

contract concerning the subject matter is in dispute.”); see also RaceRedi Motorsports, 640

F.Supp.2d at 666 (applying California law). Because De Simone alleges that the Patent License

Agreement also includes license of the VSL#3 Know-How, and that all he was required to do

was provide “notice” that he received all of the rights to the ‘615 Patent, the terms of the Patent

License Agreement are in dispute, and VSL is not barred from pleading a quasi-contract theory

in the alternative.



13
 For the same reason, the Court cannot consider the ST Italy-De Simone Settlement Agreement, which
VSL’s Counterclaim neither references nor relies upon; and therefore cannot be a basis for De Simone’s
Motion to Dismiss.


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               O.      Count XVIII (Breach of Contract) States a Viable Claim.

       De Simone incorrectly argues in regard to Count XVIII (breach of contract as third party

beneficiary) that the Product Development and Collaboration Agreement does not reflect the

parties’ agreement to transfer all of the intellectual property for VSL#3 to VSL.14 Although De

Simone contends VSL’s reading of the Product Development and Collaboration Agreement is

unreasonable, it is entirely consistent with the parties’ later agreements. Specifically, De Simone

and Mendes Italy executed three agreements with VSL pursuant to the joint venture.

(Counterclaim ¶ 48.)     Not surprisingly, and consistent with the Product Development and

Collaboration Agreement, the De Simone Assignment Agreement and the Mendes Assignment

Agreement contain a broad transfer of all De Simone’s and Mendes Italy’s intellectual property,

including the VSL#3 Know-How and trademark rights. (See De Simone Assignment Agreement

and Mendes Assignment Agreement.)

       What is unreasonable is De Simone’s contention that the only asset Mendes Italy agreed

to transfer under the Product Development and Collaboration Agreement was “a European Union

trademark designation, and nothing more.” (De Simone Mem. in Supp. at 5.) Much like with

the Mendes Assignment Agreement, discussed supra in Section II.A.i, while Appendix A to the

Product Development and Collaboration Agreement lists only one actual trademark number in

regard to VSL#3 (CTM trademark number 1437789), it also lists three other countries as well

(Canada, Japan, and the United States), including a filing date for Canada, and an indication that

the trademarks were “under filing” for the U.S. and Japan.             (Product Development and




14
   De Simone does not contest that VSL was a third-party beneficiary to the contract. (De Simone Mem.
in Supp. at 46-47.)


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Collaboration Agreement, App. A.) Again, De Simone does not even acknowledge, let alone

explain, the inclusion of the other countries in the Appendix.

       De Simone cites Section 5.3(C)(2) of the Product Development and Collaboration

Agreement and argues that he was only required to transfer intellectual property rights for

inventions he developed after the incorporation of VSL. (De Simone Mem. in Supp. at 47.)

However, that portion of the agreement merely addresses De Simone’s ongoing obligation to

transfer any future inventions he creates to VSL. (Id.) De Simone ignores entirely the broad

transfer of the existing intellectual property contemplated by the agreement, which was

consistent with the parties’ later agreements.

       As alleged in the Counterclaim, the Product Development and Collaboration Agreement

represented the parties’ fundamental agreement to form a joint venture where De Simone would

contribute to VSL all of his inventions, intellectual property, and expertise regarding VSL#3 and

other probiotic products; and the Cavazza Brothers would provide the funding and the extensive

distribution and sales network required to successfully bring VSL#3 and other probiotic products

to market throughout the world (Counterclaim ¶¶ 34-36.) The parties, in fact, named this newly-

formed entity “VSL.” (Counterclaim ¶ 34.) As alleged in Count XVIII, De Simone’s attempt to

rescind that agreement, by attempting to reclaim ownership of the VSL#3 IP, constitutes a breach

of that agreement. These allegations are sufficient to allow the Court to find that the Product

Development and Collaboration Agreement required De Simone and Mendes Italy to transfer

their intellectual property to VSL, and the Court should deny De Simone’s Motion to Dismiss

Count XVIII.




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              P.      Count XIX (Conversion) States a Viable Claim Because the VSL
                      Information Is Property Capable of Being Converted.

       De Simone incorrectly argues that the “VSL Information” that he refused to return upon

leaving VSL is incapable of being converted. De Simone argues that VSL has not alleged the

existence of “any tangible documents evidencing a property interest in the @vslpharma.com

email address,” and therefore VSL has failed to state a cause of action for conversion. (De

Simone Mem. in Supp. at 48-49.)

       In making this argument, De Simone ignores altogether VSL’s additional allegation that

De Simone converted its “documents, data, drawings, manuals, letters, notes, reports, electronic

mail, and recordings;” all of which are alleged to contain “VSL’s confidential and proprietary

information.” (Counterclaim ¶ 389.) Under Maryland law, the tort of conversion may extend to

the type of intangible property rights that are merged or incorporated into a transferable

document. Allied Inv. Corp. v. Jasen, 731 A.2d 957, 965 (Md. 1999). The “document” into

which intangible property rights are merged or incorporated “need not be paper, as long as it is

tangible and transferable.” Thompson v. UBS Fin. Servs., Inc., 115 A.3d 125, 132 (Md. 2015).

Digital media is both tangible (i.e., capable of being seen on an electronic device’s screen) and

transferable (i.e., subject to an exertion of ownership or dominion). Id. Electronic documents

and records stored on a computer can be converted “by simply pressing the delete button.” Id.

       Here, VSL has alleged that the documents, data, drawings, manuals, letters, notes,

reports, electronic mail, and recordings converted by De Simone contain VSL’s “confidential

and proprietary information” (i.e., the VSL#3 Know-How), which all parties admit is extremely

valuable. As such, the VSL Information is capable of being converted, and the fact that some of

it may have been in electronic format is of no consequence. Although De Simone—who refused

to return VSL’s Information—is in the best position to know exactly what information he has

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withheld from VSL, VSL’s claim for conversion is sufficient to survive De Simone’s Motion to

Dismiss.

               Q.      The Court Should Not Dismiss VSL’s Counts Requesting Entry of an
                       Injunction (Count XXV and XXVII) as VSL Has Properly Pleaded
                       Several Separate Causes of Action.

       Although De Simone correctly asserts that injunctive relief is a remedy and not a cause of

action, and that it is generally improper to frame a request for an injunction as a separate cause of

action; where, as here, the plaintiff has properly pleaded several separate causes of action, that

“impropriety is inconsequential,” and the Court should not dismiss the request. TBC, Inc. v. DEI

Holdings, Inc., No. 14-3644, 2015 WL 1396120, at *7 (D. Md. Mar. 24, 2015); Dwoskin v. Bank

of Am., N.A., 850 F. Supp. 2d 557, 574 (D. Md. 2012).15

                                         CONCLUSION

       WHEREFORE, for the reasons set forth herein, VSL Pharmaceuticals, Inc. respectfully

requests the Court enter an Order denying Claudio De Simone’s Motion to Dismiss Defendant

VSL Pharmaceuticals, Inc.’s Counterclaim, and granting such additional relief the Court deems

appropriate.



Dated: July 24, 2015




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   In further support of VSL’s request for entry of injunctions, VSL incorporates by reference the
arguments contained in its Opening Brief in Support of its Motion for Injunction [Dkt. 55-1].

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                                 CERTIFICATE OF SERVICE

       I hereby acknowledge that on this 24th day of July, 2015, I caused a copy of the

foregoing Brief in Opposition to Plaintiff/Counterclaim Defendant Claudio De Simone’s Motion

to Dismiss to be filed with the Electronic Case Filing system of the District of Maryland, which

will provide electronic notice to the parties of record:



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